                                       Case 3:20-cv-08103-WHA Document 173 Filed 11/10/21 Page 1 of 2




                                   1

                                   2

                                   3

                                   4

                                   5

                                   6                                 UNITED STATES DISTRICT COURT

                                   7
                                                                    NORTHERN DISTRICT OF CALIFORNIA
                                   8

                                   9

                                  10   MASTEROBJECTS, INC.,
                                  11                   Plaintiff,                           No. C 20-08103 WHA

                                  12              v.
Northern District of California
 United States District Court




                                  13   AMAZON.COM INC,                                      ORDER RE SPECIAL MASTER FOR
                                                                                            DISCOVERY DISPUTES
                                  14                   Defendant.

                                  15

                                  16

                                  17        In light of the large number of discovery disputes from both sides propounded to

                                  18   Magistrate Judge Kandis Westmore, the Court proposes the appointment of Harold J.

                                  19   McElhinny to supervise discovery and resolve all discovery disputes, with both sides to split

                                  20   his fee, which he will reduce to $300 per hour as a service to the Court and the parties, plus

                                  21   expenses. Mr. McElhinny was a premier trial attorney at Morrison & Foerster prior to his

                                  22   retirement a few years ago. He has tried many patent cases. He does not believe he would

                                  23   have a conflict. He advises that in 2019 he was an expert witness in a fee arbitration hired by

                                  24   the insurance carrier for Hosie Rice LLP and he met Spencer Hosie briefly in that assignment.

                                  25        As per Rule 53, the Court would grant Mr. McElhinny the authority to reallocate his fee,

                                  26   if circumstances warranted, to the more culpable party. And, of course he would have

                                  27   authority to impose costs and attorney’s fees to the prevailing side of a dispute according to

                                  28   Rule 37.
                                       Case 3:20-cv-08103-WHA Document 173 Filed 11/10/21 Page 2 of 2




                                   1        The Court has no doubt this would speed up the just resolution of discovery disputes in

                                   2   this matter. All rulings would be final except as to matters of privilege, which could be

                                   3   “appealed” as per Rule 53.

                                   4        By NOVEMBER 16, 2021 AT NOON, the parties shall please state whether they would

                                   5   accept such terms and assist the Court in drafting the terms of reference. Alternative

                                   6   candidates may be proposed. If counsel jointly wish, before responding, to have a conference

                                   7   call with Mr. McElhinny, then they should jointly set it up with him at

                                   8   haroldmcelhinny@gmail.com.

                                   9

                                  10   Dated: November 10, 2021.

                                  11

                                  12
Northern District of California
 United States District Court




                                                                                              WILLIAM ALSUP
                                  13                                                          UNITED STATES DISTRICT JUDGE
                                  14

                                  15

                                  16

                                  17

                                  18
                                  19

                                  20

                                  21

                                  22

                                  23

                                  24

                                  25

                                  26
                                  27

                                  28
                                                                                      2
